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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

CUAUHTEMOC HERNANDEZ AND
WILLIAM MATHIS,
                                                     Case No. 23 C 16970
               Plaintiffs,
       v.                                            Honorable Sunil R. Harjani

THOMAS DART, SHERIFF OF COOK
COUNTY, AND COOK COUNTY, ILLINOIS,

               Defendants.

                             MEMORANDUM OPINION AND ORDER

        This case arises from allegations that the ramps at the Cook County Department of
Correction’s Cermak Health Services Facility and the Residential Treatment Unit’s east tunnel fail
to comply with the Americans with Disabilities Act (ADA) and the Rehabilitation Act because
they are steep, do not have proper landings, and lack ADA compliant handrails.

        Plaintiff Hernandez previously moved for class certification pursuant to Federal Rule Civil
Procedure 23. On June 24, 2024, this Court found there had been no evidence presented about
numerosity. At that time, the only evidence put forward was: (1) videos of a handful of detainees
traversing the Cermak ramp; and (2) an online training stating that “mobility impairments” were
frequent disabilities of Cook County Jail detainees. The video evidence was outside of the period
for the proposed class and showed only two potential class members. Thus, the Court denied the
motion but allowed leave to refile, given discovery was in its infancy. See Doc. [29]. Defendants
then moved to consolidate the cases of Plaintiff Hernandez and Plaintiff Mathis. After hearing oral
arguments on the issue, the Court granted consolidation based on the substantial similarities of the
cases and in the interest of judicial economy. An amended consolidated complaint and a renewed
motion for class certification followed.

        Plaintiffs Hernandez and Mathis now seek class certification for the following three
classes:

       (1) a Rule 23(b)(2) class for all Cook County Jail inmates prescribed a cane, crutch,
       or walker who traversed either the Residential Treatment Unit east tunnel and/or
       the Cermak ramp;

       (2) a Rule 23(b)(3) class for all Cook County Jail detainees who have been assigned
       a cane, crutch, or walker by a jail medical provider and traversed the Residential
       Treatment Unit east tunnel ramp from February 13, 2022 to the date of judgment,
       to resolve the Rule 23(c)(4) issue of whether the east tunnel ramp complied with
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       the structural standards required by the ADA and Rehabilitation Act at that time;
       and

       (3) a Rule 23(b)(3) class of all Cook County Jail detainees who have been assigned
       a cane, crutch, or walker by a jail medical provider and traversed the Cermak ramp
       from December 20, 2021 to the date of judgment, to resolve the Rule 23(c)(4) issue
       of whether the Cermak ramp complied with the structural standards required by the
       ADA and Rehabilitation Act at that time.

        Defendants challenge the class certification motion by arguing that: (1) the proposed
classes are not ascertainable and sweep in uninjured parties; (2) Plaintiffs cannot satisfy Rule
23(a)’s numerosity, commonality, typicality, and adequate representation requirements; (3)
Plaintiffs have not satisfied Rule 23(b)(2) by showing there is equitable relief appropriate to the
class as a whole; and (4) Plaintiffs have not shown that common issues predominate or a class
action is the superior method under Rule 23(b)(3). The Court grants the motion for class
certification [41], but the class is modified, as further stated below.

                                             Discussion

        Rule 23 governs the certification of class actions. A proposed class must first meet the
Rule 23(a) requirements of numerosity, typicality, commonality, and adequacy of representation.
Fed. R. Civ. P. 23(a). In addition, “the proposed class must satisfy at least one of the three
requirements listed in Rule 23(b).” Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 345 (2011).
“Plaintiffs bear the burden of showing that a proposed class satisfies the Rule 23 requirements,
but… [i]t is sufficient if each disputed requirement has been proven by preponderance of
evidence.” Messner v. Northshore Univ. HealthSystem, 669 F.3d 802, 811 (7th Cir. 2012) (cleaned
up). The court must engage in a “rigorous analysis [into whether] the prerequisites of Rule 23(a)
have been satisfied,” and “[f]requently that rigorous analysis will entail some overlap with the
merits of the plaintiff's underlying claim.” Wal-Mart, 564 U.S. at 351 (cleaned up). But district
courts should not “turn the class certification proceedings into a dress rehearsal for the trial on the
merits.” Messner, 669 F.3d at 811. If certified, the certification order must “define the class and
the class claims, issues, or defenses, and must appoint class counsel.” Fed. R. Civ. P. 23(c)(1)(b).

                                       Class Ascertainability

         A class must be ascertainable before proceeding to the Rule 23 factors. The Seventh Circuit
Court of Appeals has recognized that, while a class should not sweep in a great number of
individuals who suffered no injury, district courts must balance this consideration with the fact that
it is often inevitable that a class will include persons not injured. Lacy v. Cook Cnty., Illinois, 897
F.3d 847, 864 (7th Cir. 2018). The Court of Appeals has previously addressed this precise issue of
whether a class of detainees with mobility difficulties is ascertainable. Id. In Lacy, defendants
challenged the district court’s class certification of “[a]ll Cook County Jail detainees who have
been assigned and currently use a wheelchair.” Id. at 863. The Seventh Circuit held that the class
was ascertainable and was “confident that the balance tips in favor of certification” given the
number of detainees assigned wheelchairs and that Defendant had not suggested how many could
be uninjured under the ADA. Id. at 864. Here, as in Lacy, Plaintiffs provide evidence that the

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proposed class includes potentially over 900 detainees who were assigned a cane, crutch, or walker
based on a disability. Defendants disagree, arguing that certain individuals were using these
devices for other reasons, such as a short-term injury or in lieu of a wheelchair. However,
Defendants provide no evidence that the number of individuals that would be swept in is so
numerous that class certification is impermissible. See also Bennett v. Dart, 953 F.3d 467, 468-69
(7th Cir. 2020) (Bennett I) (per curiam) (reversing denial of class certification for a class of
detainees who need canes, crutches, or walkers when using non-ADA compliant showers and
bathrooms); Walker v. Dart, 2021 WL 809765 (N.D. Ill. Mar. 3, 2021) (certifying a class of Cook
County detainees who used a wheelchair to traverse the Cermak ramp).

         To further address this issue, the Court will tailor the classes to reach disabled individuals
who would have suffered the alleged deprivations. Defendants’ response briefing centers on the
notion that not every person prescribed a cane, crutch, or walker suffers an injury under the ADA
and Rehabilitation Act. For example, run-of-the-mill short-term injuries generally do not qualify
as disabilities under the ADA. Shaw v. Williams, 2018 WL 3740665, at **8-9 (N.D. Ill. Aug. 7,
2018) (“[T]emporary injuries that neither cause nor relate to longer-term impairments generally
do not demonstrate a disability under the ADA.”). The Court also recognizes that wheelchair use,
as in Lacy, can be better tied to a disability status than canes, crutches, or walkers, which can be
used for simple injuries that do not rise to the level of a disability under the ADA. The current
version of the proposed class – all inmates at Cook County Jail prescribed a cane, crutch, or walker
– might very well include a large number of individuals temporarily using a crutch to help heal
from a minor injury, such as an ankle sprain. Not all of this can be solved at the claims processing
stage; the class must be ascertainable at the outset. As a result, the Court will exercise its discretion
to redefine the classes by only including detainees who have been assigned a cane, crutch, or
walker for a period of more than two weeks. See Lacy v. Dart, 2015 WL 1995576, at *7 n.5 (N.D.
Ill. Apr. 30, 2015) (“District courts have wide latitude to redefine class definitions to resolve any
ambiguity.”). These classes are now ascertainable.

                                      Rule 23(a) Requirements

     As noted above, for a class to be certified, Plaintiff must show numerosity, typicality,
commonality, and adequacy of representation. Fed. R. Civ. P. 23(a).

        A proposed class is sufficiently numerous when “joinder of all members is impracticable.”
Fed. R. Civ. P. 23(a)(1). A class can be certified “without determination of its size, so long as it’s
reasonable to believe it large enough to make joinder impracticable and thus justify a class suit.”
Orr v. Shicker, 953 F.3d 490, 497 (7th Cir. 2020) (cleaned up). There is no magic number, but the
Seventh Circuit has found a forty-member class sufficient to meet the numerosity requirement. Id.
at 498. The parties agree that, in the proposed timeframe, there were 590 individuals who had
medical alerts for canes, crutches, or walkers that transported and used the Cermak ramp. Doc.
[42-17], Ex. 17, ¶ 11. They also agree that approximately 476 individuals who had medical alerts
for canes, crutches, or walkers traversed the Residential Treatment Unit east tunnel. Doc. [42-17],
Ex. 17, ¶ 12. Even if some of the over 900 individuals were using a cane, crutch, and/or walker
temporarily (and are now excluded), joinder of such a voluminous class is still impractical. The
Court finds that the numerosity requirement is met.



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         To satisfy commonality, Plaintiffs must “assert a common injury that is ‘capable of
classwide resolution – which means that determination of its truth or falsity will resolve an issue
that is central to the validity of each one of the claims in one stroke.’” Lacy, 897 F.3d at 865 (citing
Wal-Mart, 564 U.S. at 350). The issue is not one of common questions but the “capacity of class-
wide proceedings to generate common answers.” Id. Again, the Seventh Circuit’s reasoning from
Lacy is instructive and binding. Despite noting that “the reasonableness of a given accommodation
will vary among individuals with differing disabilities,” the Seventh Circuit held that “any
dissimilarities among the proposed class members will not impede the generation of common
answers in this case.” Id. Contrary to Defendants’ argument that the questions posed in this case
are not common to all class members, as in Lacy, “commonality abounds.” Id. The proposed class
“share[s] a common physical impairment” requiring use of a crutch, cane, or walker, they face
common physical barriers when they confront noncompliant facilities and common answers are
needed – whether the ramps were non-ADA compliant such that individuals can seek damages. Id.
at 865-66.

        Defendants “challenge to the typicality requirement fails for largely the same reasons” the
commonality requirement fails. Lacy, 897 F.3d at 866 (citing Wal-Mart, 564 U.S. at 349 n.4
(“commonality and typicality requirements… tend to merge.”)). A claim is typical if it arises from
the “same event or practice or course of conduct that gives rise to the claims of other class members
and is based on the same legal theory.” Id. (cleaned up). As in Lacy, the injurious conduct alleged
(failure to provide ADA compliant ramps) and the requested relief (damages for injuries sustained
while using the non-compliant ramps) is typical of the class at-large. Compl. [43] ¶¶ 12-13, 28-29.

        The final requirement of Rule 23(a) is that “the representative parties will fairly and
adequately protect the interests of the class.” Fed. R. Civ. P. 23(a)(4). “The adequacy inquiry under
Rule 23(a)(4) serves to uncover conflicts of interest between named parties and the class they seek
to represent.” Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 625 (1997). Here, Plaintiffs are: (1)
represented by class counsel who have been appointed to numerous similar cases in this district;
(2) have sufficient interest as individuals who needed assistive devices and suffered injuries
because of the lack of ADA compliant ramps at both locations; and (3) do not have any interests
antagonistic to those of the proposed classes. See e.g., Bennett v. Dart, 2020 WL 1812376, at *3
(N.D. Ill. Apr. 9, 2020) (granting motion for class certification for all inmates prescribed a walker,
crutch, or cane by medical staff who were denied accommodations).

         Furthermore, the Seventh Circuit’s holdings in Bennett I and II dictate the outcome in this
case. Bennett I, 953 F.3d at 469; Bennett II, 53 F.4th 419, 420 (7th Cir. 2022) (Bennett II) (per
curiam). In Bennett I, the Seventh Circuit reversed the district courts refusal to certify a class of
detainees prescribed canes, crutches, or walkers when looking at whether showers and bathroom
facilities were compliant with the ADA and Rehabilitation Act. 953 F.3d at 469. The district court
on remand granted class certification, but later decertified the class. Bennett II, 53 F.4th at 420.
The Seventh Circuit reversed the decertification of the class under Rule 23(a) and (b)(3), noting
that Rule 23(c)(4) allows for class actions with respect to particular issues. Id. (“Class members []
receive the benefit of a declaratory judgment (if the class prevails) on the [certified] issue but
would need to proceed in individual suits to seek damages; by contrast, if the class loses, every
detainee would be bound through the doctrine of issue preclusion.”). The same reasoning applies
here. By certifying the classes, the Court will be able to determine common issues, such as whether

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the ramps were ADA compliant for the individuals using canes, crutches, and/or walkers. See also
Lacy, 897 F.3d at 866 n.38 (“many courts have certified classes based on allegedly unreasonable
accommodations”).

                                     Rule 23(b) Requirements

        Rule 23(b) allows class certification if Rule 23(a) is met in connection with one of the listed
Rule 23(b) requirements. For example, a class may be maintained under Rule 23(b)(2) if Rule
23(a) is satisfied, and a party seeks “final injunctive relief or corresponding declaratory relief” that
is “appropriate respecting the class as a whole.” Fed. R. Civ. P. 23(b)(2). Plaintiff Mathis seeks
injunctive relief for the Rule 23(b)(2) class of all inmates at Cook County Jail prescribed a cane,
crutch, or walker for more than two weeks and who traversed either the Residential Treatment Unit
east tunnel and/or the Cermak ramp. Defendants respond that a Rule 23(b)(2) class is inappropriate
because Plaintiffs would have varied abilities, experiences, and injuries, and there are no concrete
physical injuries alleged. Further, Defendants assert these ramps are allegedly set for construction
to make them ADA compliant, making common injunctive relief unnecessary.

       As all proposed class members have difficulty ambulating, “any variation in ability and
experience beyond that does not undermine the conclusion that injunctive relief would address the
complaint of all class members in this case.” See Walker, 2021 WL 809765, at *6. As in Walker,
the proposed class members have a common injury – inability to safely use the Cermak and
Residential Treatment Unit ramps. Id. Common injunctive relief would remedy the injury – either
by bringing the ramps into compliance or by ordering policies and procedures to assist class
members while the ramps undergo construction. Id. Accordingly, the Court certifies the first class
pursuant to Rule 23(b)(2).

       Plaintiffs Mathis and Bermudez both seek certification of two Rule 23(b)(3) classes. A
court may certify a class under Rule 23(b)(3) when Rule 23(a) is met and “questions of law or fact
common to members of the class predominate over any questions affecting only individual
members, and [] a class action is superior to other available methods for fairly and efficiently
adjudicating the controversy.” Fed. R. Civ. P. 23(b)(3). This criterion is more demanding than the
Rule 23(a) requirements. Amchem, 521 U.S. at 623-24.

        Predominance requires that the legal or factual questions are sufficiently cohesive to
warrant adjudication by representation. Messner, 669 F.3d at 814 (citing Amchem, 521 U.S. at
623). Bennett II instructs district courts to consider whether certification in ADA cases under Rule
23(b)(3) in conjunction with (c)(4) is appropriate to “resolve the issue, not the whole case.” Bennett
II, 53 F.4th at 420. The proposed Rule 23(b)(3) classes seek to resolve the Rule 23(c)(4) issue of
whether the east tunnel and Cermak ramps complied with the structural standards required by the
ADA and Rehabilitation Act at that time.

       While class members might have different damages or issues regarding exhaustion, the
main substantive issues – whether: (1) the ADA standards apply to the Cermak and Residential
Treatment Unit east tunnel ramps; and (2) if the standards were violated because the ramps were
not compliant – can be resolved on a class-wide basis as they are applicable to every detainee in



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the proposed classes. Id. (reversing decertification of a class of detainees who used canes, crutches,
and walkers, for non-ADA compliant facilities). Thus, these issues predominate.

        Finally, Rule 23(b)(3) allows class certification only where “a class action is superior to
other available methods for fairly and efficiently adjudicating the controversy.” Fed. R. Civ. P.
23(b)(3). “When appropriate, an action may be brought or maintained as a class action with respect
to particular issues.” Fed. R. Civ. P. 23(c)(4). Here, the merits of the proposed class turn on
common questions and proceeding as a class “achieves economies of time, effort, and expense and
promotes uniformity of decision.” See Bennett, 2020 WL 1812376, at *3 (certifying class of
detainees who utilized canes, crutches, and walkers).

                                            Conclusion

       For the reasons stated above, Plaintiffs’ motion for class certification [41] is granted as
modified. The Court certifies the following classes:

       (1) pursuant to Rule 23(b)(2), all inmates at Cook County Jail prescribed a cane,
       crutch, or walker by a jail medical provider for a period of more than two weeks
       and who traversed either the Residential Treatment Unit east tunnel and/or the
       Cermak ramp;

       (2) pursuant to Rule 23(b)(3) a class for all Cook County Jail detainees who have
       been assigned a cane, crutch, or walker by a jail medical provider, for a period of
       more than two weeks, and traversed the Residential Treatment Unit east tunnel
       ramp from February 13, 2022 to the date of judgment, to resolve the Rule 23(c)(4)
       issue of whether the east tunnel ramp complied with the structural standards
       required by the ADA and Rehabilitation Act at that time; and

       (3) pursuant to Rule 23(b)(3) a class of all Cook County Jail detainees who have
       been assigned a cane, crutch, or walker by a jail medical provider, for a period of
       more than two weeks, and traversed the Cermak ramp from December 20, 2021 to
       the date of judgment, to resolve the Rule 23(c)(4) issue of whether the Cermak ramp
       complied with the structural standards required by the ADA and Rehabilitation Act
       at that time.

       The Court also certifies class representative: William Mathis for classes (1) and (2), and
Cuauhtemoc Hernandez for class (3); and class counsel: Thomas Gerard Morrissey and Patrick
William Morrissey.


SO ORDERED.

Dated: November 27, 2024                                      ______________________________
                                                              Sunil R. Harjani
                                                              United States District Judge



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